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EXHIBIT L

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'AMERICAN ARBITRATION ASSOCIATION

AMERCIAN INTERNATIONAL
SPEClALTY LINES 13 195 02486 05
INSURANCE COMPANY
Claimant John F. Byrne, Esq.
’ Stephen D. Kramer, Esq.
Charles J. Moxley Jr., Esq.
_ V__
THE UPPER DECK CoMPANY, RICHARD §§%I;`JQ[§S:C§(;IM
P. McWILLIAM, and the MPR _-~_~'~'~
REVOCABLE TRUST
' Respondents.

American International Specialty Lines Insurance Company (“AISLIC” or
“Claimant”) responds as follows to the counterclaim of The Upper Deck Company (“Upper
Deck”), MPR Trust and Richard P. McWilliam (“McWilliam”), individually and as Trustee
for the MPR Trust (collectively “Respondents”). The paragraph numbers of the responses
below correspond to the paragraphs in the counterclaim to which they respond.

1. Admits that Upper Deck is a Califomia corporation with its principal
place of business in Carlsbad, California. Denies knowledge or information sufficient to
form a belief as to the truth of the remaining allegations in paragraph l.

2. Admits upon information and belief the allegations in paragraph 2.

3. Admits upon information and belief that McWilliam is an individual

who has resided in Nevada, but further answers, upon information and belief, that

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McWilliam, in 2004, purchased an ll-room apartment at 50 Central Park South in New York
City.

4. Admits upon information and belief the allegations in paragraph 4.

5. Admits that AISLIC is an Alaska corporation with a principal place of _
business in New York and that AISLIC is authorized to underwrite insurance in California as
a surplus lines insurer. Answers that AISLIC maintains its principal place of business in
New York City, and is authorized, pursuant to New York State statute, to maintain offices in
New York and issue policies in New York through New York licensed excess insurance
brokers. Denies that AISLIC is not subject to the supervision of insurance regulators in the
State of New York. Denies the allegations of paragraph 5 not specifically admitted to herein.

6. Admits that AISLIC issued the Policy and further admits that the
Policy provided for the payment of $3,250,000 in premiums by the Insureds. Answers that
the Policy speaks for itself as to the risks it is intended to insure. Denies the allegations of
paragraph 6 not specifically admitted to herein.

7. Answers that the terms of the Policy’s “Insuring Agreement” speak for
themselves and adds that the “Insuring Agreement” is immediately preceded by the
following:

“ln consideration of the payment of the premium, and in

reliance upon the representations made and documents provided
to [AISLIC] (the “Insurer”), the Insurer agrees as follows:”

Further adds that, pursuant to Section Z(n) of the Policy, the KPMG opinions,
attached as Exhibit A to the Policy, are deemed a part of the Policy and that, pursuant to

Section Z(r) of the policy, the Representation letter, attached as Exhibit B to the Policy, was

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“delivered to the Insurer [AISLIC] in connection with the underwriting of this Policy, which
letter is deemed part of the application for this Policy.” Denies the allegations of paragraph
7 not specifically admitted to herein. b

8. Answers that the terms of Section 8 of the Policy regarding “Procedure
F or Time Of Payrnent” speak for themselves Denies the allegations of paragraph 8 not
specifically admitted to herein and refers to the Order of Honorable Irma E. Gonzalez dated
January 30, 2006, in the action between Upper Deck and AISLIC in the United States
District Court, Southern District of California (the “January 30, 2006 Order”), which found
at page 8: “New York’s interest in the relationship between its domiciled insurers and their
customer matches California’s interest in the relationship between its domiciled insured
corporations and their insurers.”

9. Answers that the definitions of Loss, Insured Tax Loss, Contest
Expenses and Gross-Ups, in Sections 2(1), (j), (d) and (f) speak for themselves and notes that
the Policy provides that “Insured Tax Loss,” pursuant to its definition in Section 2(]`) of the
Policy, is expressly “subject to all of the terms, conditions and exclusions of the Policy.”
Denies the allegations of paragraph 9 not specifically admitted to herein.

10. Answers that the definition of Insured Tax Event in Endorsement No. l
of the Policy speaks for itself and notes that the Policy provides that “Insured Tax Loss,”
pursuant to its definition in Section 2(}`) of the Policy, is expressly “subject to all of the terrns,
conditions and exclusions of the Policy.” Denies the allegations of paragraph 10 not
specifically admitted to herein.

ll. Adrnits that on April 16, 2002, AISLIC was informed by KPMG that it

was served with one or more summonses requesting various disclosures about certain tax

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strategies. Further admits that on April 17, 2002, KPMG informed AISLIC that as a result of
such summons, KPMG determined that it was required to disclose the identities of certain
clients such as Upper Deck. Denies the allegations of paragraph 11 not specifically admitted
to herein.

12. Adrnits that on April 26, 2004, during the policy period, the IRS
published Intemal Revenue Bulletin 2004-17 on the “S Corporation Tax Shelter” and refers
to same for a complete and accurate description of its contents. Denies the allegations of
paragraph 12 not specifically admitted to herein.

13. Admits that the IRS issued, with an effective date of November 8,
2004, during the policy period, a Coordinated Issue Paper on S Corporation Tax Shelter
Notice 2004-30. Answers that the Coordinated Issue Paper speaks for itself and notes that,
on page one, the Coordinated Issue Paper states:

“extensive factual development is necessary for each transaction

in order to establish and evaluate the appropriate legal
positions.”

Denies the allegations of paragraph 13 not specifically admitted to

herein.

l4. Answers that the Policy’s definition of “Insured Tax Event” and the
IRS’s Notice 2004-30 speak for themselves and notes that the Policy’s definition of “Insured
Tax Loss” is expressly “subject to all of the terms, conditions and exclusions of the Policy,”
including the representations set forth in the KPMG Opinions and the Representation Letter,
which are expressly deemed part of` the Policy, Denies the allegations of paragraph 14 not
specifically admitted to herein.

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15. Answers that the Coordinated Issue Paper speaks for itself. Further
notes that, on page nine, the Coordinated Issue Paper refers to the importance of redemption
agreements providing for fair market value to avoid violating the single class of stock
requirement Denies the allegations of paragraph 15 not specifically admitted to herein.

16, Answers that Notice 2004-30 speaks for itself and notes that
Coordinated Issue Paper on Notice 2004-30 states, on page one, that “extensive factual
development is necessary for each transaction in order to establish and evaluate the
appropriate legal positions.” Denies the allegations of paragraph 16 not specifically admitted
to herein.

17, Answers that the August 2004 'IDRs speak for themselves Denies the
allegations of paragraph 17 not specifically admitted to herein.

18. Answers that the August 2004 ID'R No. seosBz and August 6, 2004
letter speak for themselves Denies the allegations of paragraph 18 not specifically admitted
to herein.

l9. Denies the allegations of paragraph 19.

20. Answers that the Policy’s definition of “Insured Tax Event” and IRS’s
Notice 2004-30 and the Coordinated Issue Paper speak for themselves and notes that the
Policy’s definition of “Insured Tax Loss” is expressly “subject to all of the terms, conditions
and exclusions of the Policy,” including the representations set forth in the KPMG Opinions
and the Representation Letter, which are expressly deemed part of` the Policy. Denies the
allegations of paragraph 20 not specifically admitted to herein.

21. Denies the allegations of paragraph 21.

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22. Answers that the April 7, 2005 correspondence speaks for itself`. Denies
the allegations of paragraph 22 not specifically admitted to herein.

23. Answers that the Policy’s definition of “Insured Tax Event” and IRS’s
Notice 2004-30 and the Coordinated Issue Paper speak for themselves and notes that'the
Policy’s definition of “Insured Tax Loss” is expressly “subject to all of the terms, conditions
and exclusions of the Policy,” including the representations set forth in the KPMG Opinions
and the Representation Letter, which are expressly deemed part of the Policy. Further notes
that, on page 6 of the Coordinated Issue Paper, the IRS indicated that the “exer"npt party
would be treated as a shareholder to the extent of the actual economic benefits it realizes
from holding the stock.” Answers that Respondents denied Firefighters the economic
benefits of redemption, by coercing Firefighters to sell its non-voting stock at a fraction of its
fair market value. Denies the allegations of paragraph 23 not specifically admitted to herein.

24. Answers that the August 6, 2004 correspondence speaks for itself.
Notes that the Policy’s definition of “Insured Tax Loss” is expressly “subject to all of the
terms, conditions and exclusions of the Policy,” including the representations set forth in the
KPMG Opinions and the Representation Letter, which are expressly deemed part of the
Policy. Denies the allegations of paragraph 24 not specifically admitted to herein.

25. Answers that the August 7, 2005 correspondence speaks for itself`.
Denies the allegations of paragraph 25 not specifically admitted to herein.

26. Answers that the Policy’s definition of “Insured Tax Event” and IRS’s
Notice 2004-30 and the Coordinated Issue Paper speak for themselves and notes that the
Policy’s definition of “Insured Tax Loss” is expressly “subject to all of the terms, conditions

and exclusions of the Policy,” including the representations set forth in the KPMG Opinions

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and the Representation Letter, which are expressly deemed part of the Policy. Further notes
that, at page 6 of the Coordinated Issue Paper, the IRS indicated that the “exempt party
would be treated as a shareholder to the extent of the actual economic benefits it realizes
from holding the stock.” Answers that Respondents denied Firefighters the economic
benefits of redemption, by coercing Firefighters to sell its non-voting stock at a fraction of its
fair market value. Denies the allegations of paragraph 26 not specifically admitted to herein.

27. Answers that the August 7, 2005 correspondence speaks for itself`.
Denies the allegations of paragraph 27 not specifically admitted to herein. -

28. Answers that the Policy’s definition of Claim speaks for itself. Denies
the allegations of paragraph 28 not specifically admitted to herein.

29. Adrnits upon information and belief that, on or about April 7, 2005,
after reviewing the documents produced by Upper Deck, including the documents regarding
the purchase of Firefighters’ non-voting common stock pursuant to the Share Purchase
Agreement in December 2002, the IRS gave written notice “alleging any insured may be
_ liable for taxes.” Denies the allegations of paragraph 29 not specifically admitted to herein.

30. Admits that under law there is a mutual duty of good faith and fair
dealing between Insured and Insurer in carrying out the terms of the insurance contract, but
denies that there is any Implied Contract that is different from or which overrides the terms
of the insurance contract, Denies the allegations of paragraph 30 not specifically admitted to
herein.

31. Answers that the April 7, 2005 Correspondence speaks for itself.

Denies that there is an Insured Tax Loss “subject to all of the terrns, conditions and

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exclusions of the Policy” and denies the allegations of paragraph 31 not specifically admitted
to herein.

32. Admits that, after failing to respond to repeated requests for documents
and information demands from AISLIC’s coverage counsel, Respondents communicated to
AISLIC the IRS’s April 7, 2005 proposal and demanded that AISLIC contribute its policy
limits to the proposed settlement Denies the allegations of paragraph 32 not specifically
admitted to herein.

33. Admits that AISLIC consented to the IRS settlement proposal subject
to reserving its rights under the policy, Answers that AISLIC, as it indicated in letters dated
April 26, 2005 and May 6, 2005, was not in a position to determine whether to fund the
settlement with the IRS, since it had not received responses from Respondent to the repeated
requests for documents and information demands from AISLIC’s coverage counsel. Denies
the allegations of paragraph 33 not specifically admitted to herein.

34. Answers that the July 29, 2005 letter from Peabody & Arnold speaks
for itself. Denies the allegations of paragraph 34 not specifically admitted to herein.

35. Denies the allegations of paragraph 35.

36. Admits that AISLIC moved to compel the instant arbitration in the
Southem District of Califomia action initiated by Respondents. Answers that in her January
30, 2006 Order, Judge Irma E. Gonzalez granted AISLIC’s motion to compel arbitration
Denies the allegations of paragraph 36 not specifically admitted to herein.

37. With respect to the allegations in paragraph 37, AISLIC realleges its
responses to paragraphs 1 through 36 as if fully set forth herein. n

38. Denies the allegations of paragraph 38.

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39. Denies the allegations of paragraph 39.

40. With respect to the allegations in paragraph 40, AISLIC realleges its
responses to paragraphs 1 through 39 as if billy set forth herein. n

41. Denies the allegations of paragraph 41.

42. Denies the allegations of paragraph 42'.

43. Denies the allegations of paragraph 43.

44. Denies the allegations of paragraph 44.

FIRST, SECOND, THIRD, FOURTH, FIFTHl
SIXTH AND SEVENTH SEPARATE DEFENSES

45. Claimant incorporates by reference, as if fully set forth at this point,
Counts I, II, III, IV, V, VI and VII (i.e., paragraphs 47 through 84) of Claimant’s arbitration

complaint

Dated: New York, New York
March 3, 2006

Respectfully submitted,

D’AMATO & LYNCH

By; /i°éiri` <(: /iau/f¢

Robert E. Kushner

Peter A. Stroili

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EXHIBIT M

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AMERICAN ARBITRATION ASSOCIATION

AMERICAN INTERNATIONAL CaSC NO.
SPECIALTY LINES 13 195 02486 05
INSURANCE COMPANY ,

Claimant - Counter Respondent John F- Bym€, Esq-

Stephen D. Kramer, Esq.
_ V__ Charles J. Moxley Jr., Esq
THE UPPER DECK COMPANY, RICHARD
P. MchLLlAM, and the MPR
REVOCABLE TRUST

Respondents - Counterclaimants.

CLAIMANT’S PREHEARING BRIEF

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AMERICAN ARBITRATION ASSOCIATION

AMERICAN INTERNATIONAL
sPECIALrY LINES Case N°-
INsURANCE CoMPANY 13 195 02436 05
Claimant - Counter Respondent John F. Byme’ Esq.
Stephen D. Kramer, Esq`.
` V" Charles J. Moxley Jr., Esq.

THE UPPER DECK COMPANY, RICHARD
P. McWILLIAM, and the MPR
REVOCABLE TRUST

Respondents - Counterclaimants.

CLAIMANT’S PREHEARING BRIEF
PRELIMINARY STATEMENT

In December 2002, without ever notifying much less asking for AISLIC’s
consent, Respondents abolished the tax plan which AISLIC had agreed to insure. The tax
plan eradicated by Respondents had been carefully crafted a year and a half earlier in a
Shareholders Agreement, Warrant Agreement and three separate opinions by KPMG (the
“KPMG Opinions”), each of which was annexed to and deemed part of the Policy. The
above documents described a transaction in which Respondents were motivated, at least in
part, by their warranted desire to support Austin Firefighters Relief Fund (“Austin”) by
donating to Austin a gift of Upper Deck Non-Voting Common Stock. The Shareholders
Agreement thus provided Austin with the right, after a two year period, to redeem its shares

for fair market value as determined by a qualified appraiser.

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The payment of fair market value for Austin’s shares, as evidenced by an
appraisal, was critical to the tax plan’s validity both in terms of showing that a valid gift of
shares had been made and in terms of coming within certain Safe harbor rules for avoiding a
determination that Austin’s shares constituted a second class of stock, which determination
would invalidate Upper Deck’s Subchapter S status. AISLlC would not have agreed to
insure the tax plan without the underpinnings of` requiring_payment of fair market value to
Austin for its shares and a qualified appraisal evidencing the payment of fair market value.

In the latter part of 2002, after experiencing a tremendous surge in income due
to sales of Yu-Gi-Oh!, Respondents, eschewing their prior representation of charitable intent,
set out to acquire Austin’s shares early for considerably less than their fair market value.
Without notifying AISLIC or asking for its consent, Respondents terminated the
Shareholders Agreement and replaced it with a Share Purchase Agreement, inn which the
purchase price was based solely on what Upper Deck Was willing to pay, without any
provision for an appraisal.

By eliminating the requirements of fair market value and a qualified appraisal,
Respondents greatly enhanced, if not assured, the chance of Success of any challenge by the
IRS, Respondents departed from the tax plan in another critical respect: McWilliam’ls
admitted failure to take a charitable deduction on his 2001 tax retum, only months after
representing to the IRS that he would in a Voluntary Disclosure Statement.

Respondents now ask AISLIC to pay for a settlement with the IRS which, as a
result of Respondents’ unilateral abandonment of the tax plan, was their only viable option.
Respondents’ actions vitiated coverage under the Policy on several independent grounds

First, by radically departing from the terms and conditions of the tax plan set forth in

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documents which were annexed to and deemed part of the Policy itself, Respondents cannot
show, as they must, that they have incurred a covered Insured Tax Loss. Moreover, by
failing to take a charitable deduction for the donation of Austin’s shares, McWilliam violated
an express condition precedent in Section 9(b) of the Policy, which, under New York law,
precludes coverage even in the absence of causation

ln addition, as a result of Respondents’ unilateral abandonment of the tax plan,
several limitations on coverage apply. Under Exclusion 3(h), coverage is_clearly barred as a
result of Respondents’ termination of the Shareholders Agreement without AISLIC’s prior
written consent Under Exclusions 3(a) and 3(b)of the Policy, and pursuant to Respondents’
breach of their promissory warranties in the Representation Letter, coverage is also barred by
Respondents’ failure to pay fair market value for Austin’s shares or to obtain an appraisal,

_ and by their use of threats and false statements to obtain Austin’s shares.

In sum, Respondents are not entitled to coverage for a tax plan they chose not

to` follow, without ever telling AISLIC, in blatant violation of the Policy.
STATEMENT OF FACTS

In May 2001 , Upper Deck’s insurance broker Marsh Risk and Insurance
Services Inc. (“Marsh”), solicited AISLIC’s interest in providing insurance to Upper Deck in
connection with a tax plan devised by KPMG. The tax plan was designed to save
McWilliam federal and state income taxes by taking advantage of the pass-through nature of
Upper Deck as a Subchapter S corporation, by allocating 90% of its income to Austin, a taxi-
exempt charitable organization In accord with the tax plan, on March 28, 2001, Upper Deck

had issued 8,280,000 Shares of Upper Deck Non-Voting Common Stock to the MPR Trust, of

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which McWilliam was the sole beneficiary._ Then, on March 31, 2001, the MPR Trust
donated the 8,280,000 shares ("Austin’s shares”) to Austinl

The Shareholders Agreement, entered into between Respondents and Austin
on March 31, 2001, provided for a put option, by which Austin had the right, during a 180-
day period commencing April 1,.2003, to require Upper Deck to redeem its shares for fair
market value as determined by an independent appraisal firm. The Shareholders Agreement
required Upper Deck to pay 25 % of the purchase price at the redemption closing and the
remainder within 45 days of the Closing. (Section 5.3). The Shareholders Agreement also
provided for a right of first refusal, pursuant to which Upper Deck had the right to purchase
Austin’s shares for the amount of any bona fide offer received by Austin, (Section 2.1).

Fair market value was central to the success of the tax plan as described in the
KPMG opinions. In order to qualify as a Subchapter S corporation, Upper Deck could not
have more than one class of stock. Thus, KPMG opined both with respect to the issuance of
the warrants, and with respect to the redemption of Austin’s shares, that they would not
trigger a “second class of stock, provided that their strike price can be Shown to be not
substantially below the fair market value of the stock.” (Opinion on Warrants, at 4; Opinion
on Charitable Contribution, at 7). F air market value was also critical to show donative intent
i.e., that the factual representation on page two of KPMG’s Opinion on “Charitable

Contribution” of “the Shareholder’s desire to support [Austin]” was true and correct, in that

 

‘ On March 28, 2001 , Upper Deck declared a dividend to McWilliam, as sole beneficiary of the
MPR Trust, of 82,800,000 warrants to purchase Non-Voting Common Stock of Upper Deck. The
warrants had a dilutive effect on the appraised value of Austin’s shares, which Were valued at
$1,357,920 in a March 31, 2001 appraisal by FMV Opinion, lnc. (the “FMV appraisal”).

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Austin would be entitled to the benefits of any appreciation in the fair market value of its
shares.2

In order to determine its potential exposure under the Policy, AISLIC in the
negotiations_over coverage focused on obtaining reliable estimates of Upper l)eck’s
projected income for the years for which it sought coverage On or about June 14, 2001,
before the Policy was issued, Upper Deck provided AISLIC with projections prepared by
KPMG estimating a tax exposure of approximately $36 million based on projected income
of approximately 345 million for 2001 and $34.1 million for 2002. These projections were
much higher than the income projections in the FMV appraisal of projected Upper Deck
income of $9.4 million for 2001 and $8.3 million for 2002, Upper Deck’s broker, Marsh,
represented to AISLIC that the higher projections were provided “to justify the higher
insurance limit” and to take into account the “potential for growth with the potential signing
of Tiger Woods.”

Upper Deck failed to disclose, however, that it was also about to obtain
exclusive rights to market and distribute in North America the immenser popular trading
card game Yu-Gi-Oh!, which according to McWilliam, “is the No.l game ever created in the
history of games, bigger than Monopoly.” As early as June 2001, Upper Deck had prepared
projections forecasting tens of millions of dollars in sales from Yu-Gi-Oh!-related products

On September 4, 2_001, Upper Deck and McWilliam executed a Representation

Letter expressly warranting the truth and correctness of the “facts, assumptions of fact, and

 

2 Another assumption in the KPMG Opinions was that McWilliam, as Shareholder, would take a

charitable deduction on his 2001 tax return Thus, KPMG concluded: “It is more likely than not
that the Shareholder will be entitled to a charitable deduction for the fair market of the stock the

Shareholder donated.” (Opinion on “Charitable Contribution, p.4) (underline in original).

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understandings of fact set forth in the opinions of KPMG,” as well as Upper Deck’s and its
shareholders’ inability to compel the redemption of Austin’s shares, except pursuant to
Upper Deck’s right of first refusal in the Shareholders Agreement

On or about January 29, 2002, AISLIC issued the Policy to Upper Deck,
having previously issued a binder on August 29, 2001 .3 The first sentence of the Policy
states that the agreement to provide coverage is “in reliance upon the representations made
and documents provided,” i.e., the KPMG Opinions, the Shareholders Agreement, the
Representation Letter, the Warrant Agreement and the FMV appraisal, all of which were
annexed to and deemed part of the _Policy. AISLIC agreed to provide $50,000,000 in
aggregate coverage, subject to a $500,000 retention, for 90% of an Insured Tax Loss,
defined as “any Taxes, lnterest, fines or penalties owed by any Insured to a Taxing Authority
directly related to the Insured Tax Event, subject to all of the terms, conditions and
exclusions of the policy.” (Policy, § 2 (j)). Pursuant to Section 4 of the Policy, coverage is
excluded for Loss:

(a) arising out of, based upon or attributable to the

committing in fact of any criminal or deliberate fraudulent act

(including without limitation deliberate civil fraud), or any

knowing and intentional violation of any law, rule, regulation or

statute; provided, however that effecting the transactions

described in the Opinions and the filing of Tax Ret_urns with any

Taxing Authority by the Insureds consistent with the

transactions described in the Opinions shall not be the

committing in fact of any criminal or deliberate fraudulent act .

(including without limitation deliberate civil fraud) or a

knowing and intentional violation of law, rule, regulation or
statute for purposes of this Clause 3(a);

 

 

3 Two weeks later, on February 12, 2002, Upper Deck announced that it had acquired exclusive
rights to market and distribute Yu-Gi-Oh! in North America.

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(b) arising out of, based upon or attributable to any material
inaccuracy in the facts set forth or referenced in the
Representation Letter; [and]

(h) to the extent such Loss arises out of, is based upon, or is

attributable to an amendment to the Shareholders Agreement or

the Warrant Agreement attached as Exhibits C and D,

respectively, without the lnsurer's prior written consent (which

consent shall not be unreasonably withheld by Insurer).
ln addition, Section 9(b) of the Policy sets forth as an express “condition precedent to the
right of the Insureds to be indemnified hereunder, that [t]he Insureds shall have prepared

and filed all applicable Tax Retums in a manner materially consistent with that anticipated
by the Opinions and/or the Representation Letter.”

Section 16 of the Policy contains a broad arbitration clause requiring
arbitration of “all disputes or differences which may arise under or in connection with th[e]

Policy” and a choice of law provision which provides:

The arbitration shall be subject to the Federal Arbitration Act,
and to the extent such Act is not applicable, the laws of the State
of New York. The construction validity and performance of
this Policy shall be governed by the laws of the State of New

York

Section 16 further provides that no award shall exceed “the applicable Lirnit of Liability set

forth in this Policy.”

ln April 2002, Respondents were informed by KPMG that, in response to an
IRS summons, KPMG had disclosed Upper Deck’s identity, “together with other information
regarding the transaction that is the subject of the Policy.” On April 22, 2002, Respondents
made a voluntary disclosure to the IRS, in which McWilliam stated, “I will claim a 2001
charitable contribution deduction as allowed for federal income tax purposes with

respect to the contribution by me of [Austin’s shares].” McWilliam also told the IRS that,

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“at the time of contribution, the Donee and I and the Company entered into a Shareholders
Agreement which provides the Donee with a put option,” commencing April 1, 2003,
which if exercised, “the price required to be paid for those Shares will be their fair market
value on the date of exercise of the put option, as determined by an independent valuation
firm.”

However, in November 2002, Respondents, “for business reasons,” sought to
acquire Austin’s shares before the end of Upper Deck’s reporting year on December 31,
2002, Redge Bendheim (“Bendheim”) of KPMG and Kevin Cahill (“Cahill”) of Upper Deck
exchanged drafts of a Share Purchase Agreement providing for Upper Deck’s repurchase,
without any appraisal, of Austin’s shares for $2 million The original draft contained a
provision requiring Austin’s “independent determination that the price being paid to it for the
Non-Voting Shares is fair to it and has been negotiated at arms-length. .

On December 5, 2002, Austin’s lawyer requested information from Upper
Deck “that would enable the Fund to make the representation that the Fund has
independently determined that the price is fair.” Instead of providing the information,
Bendheim and Cahill agreed to send Austin a new draft, eliminating any provision for
Austin’s independent determination of the fairness of the $2 million purchase price. Upper
Deck only provided Austin with income statements for the nine month period ending
September 30, 2002, which showed net income of 329,519,305. Then, in a December 9,
2002 letter, Bendheim told Austin: “If you annualize the September 30, 2002 income

statement results, the annualized net income is approximately$39,359,073,” and concluded

that “the $2 million purchase price is very fair especially in light of today’S economic

conditions.”

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At the time of Bendheim’s statements, Upper Deck had experienced a
tremendous surge in income due to the success ot`Yu_-Gi-Oh! Thus, in October 2002 alone,
Upper Deck reaped monthly net income of $46,596,546, more than the $39,359,073
annualized income figure that Bendheim posited to Austin as Upper Deck’s income for all
of 2002, Similarly, in November 2002, Upper Deck’s monthly net income was
$35,082,825. Neither the October 2002 nor November 2002 monthly net income figures

_ were disclosed by Respondents to Austin.

When Austin asked for additional financial information to assist its
accountants in determining the fair market value of Austin’s shares, Bendheim, in a fax sent
the same day, December 9, 2002, told Austin that Austin’s accountants’ view of fair market
value was of no account, that the “real fair market value is whatever the Upper Deck
Company is`willing to pay for it [Austin’s shares]” and that Upper Deck was “not willing
to pay one dollar more” than $2 million As shown by Empire Valuation Consultants’
appraisal of Austin’s shares at $l 1.3 million, as of December 31, 2002, the $2 million
purchase price was substantially below fair market value. Compounding his
misrepresentations regarding Upper Deck’s annualized income, Bendheim further claimed
that, under the Shareholders Agreement, “only 25 percent of the price is required to be paid
at closing The balance can be deferred it appears for an indefinite time,” and concluded:
“Any delay or attempt to adjust the purchase price may put the Austin Firefighters at
significant risk.”

Without ever notifying AISLIC or requesting its consent, Respondents
executed the Share Purchase Agreement shortly before December 30, 2002, The Share

Purchase Agreement eliminated the requirements of fair market value and an independent

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appraisal from the tax plan insured by AISLIC and, pursuant to Section 5.3, terminated n
“Austin’s rights and obligations under the Shareholders Agreement”

In April 2004, the IRS issued Notice 2004-30 listing the S Corporation Tax
Shelter (the “S'C2 transaction”) as a tax avoidance transaction, the tax benefits of which the
IRS intended to challenge. On November 8, 2004, the IRS followed up with a Coordinated
Issue Paper, setting forth arguments for challenging the taxpayer’s position in the SC2
transaction`, but cautioning: “Because many of these legal arguments are document
sensitive, extensive factual development is necessary in order to establish and evaluate the
appropriate legal positions.” (Coordinated Issue Paper, at l). While positing the “substance
over forrn” doctrine as one of the bases to attack the SC2 transaction, the IRS set forth the
caveat, “if the exempt party were considered a shareholder rather than a mere facilitator or
accommodation party, the exempt party would be treated as a shareholder to the extent of
the actual economic benefits it realizes from the stock.” (ld_., at 6).

On August 5, 2004, the IRS served Information Document Requests on Upper
Deck, among which was a request for all documents regarding the redemption of Austin’s
shares (Information Document Request S608C, Nos. 2, 30-37, 46). On October 21, 2004
and December 9, 2004, Upper Deck provided documents to the IRS regarding Upper Deck’s
repurchase of Austin’s shares in December 2002. l

By letter dated April 7, 2005, the IRS offered a settlement, which, among
other things, proposed to tax the MPR Revocable Trust and McWilliam as if the transaction
never occurred. Respondents notified the IRS that they wished to accept the IRS settlement
proposal subject to reaching an agreeable closing agreement AISLIC stated it would not v

object, subject to reserving its other rights under the Policy.

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Meanwhile, a report published on February 8, 2005 by the United States
`Senate Permanent Subcommittee on Investigations of the Committee on Govemmental
Affairs (the “Senate Subcommittee”), titled “The Role Of Professional Firrns ln The U.S.
Tax Shelter Industry”(the “Senate report”), revealed that KPMG aggressively marketed SC2
through telemarketing and calls to “literally thousands of potential SC2 clients,” as part of a
scheme to generate huge fees for KPMG. (Senate report, at 4l).

Respondents have demanded that AISLIC contribute its full policy limit
towards payment of the taxes to be assessed if the IRS settlement proposed is consummated
AISLIC submits that there is no insurance coverage available and requests from the j '
Arbitration Panel a ruling of no coverage and/or exclusion

ARGUMENT
POINT I
THERE IS NO lNSURED TAX LOSS, SINCE RESPONDENTS’ CLAIM
DOES NOT ARISE FROM THE TAX PLAN SET FORTH IN THE DOCUMENTS
ANNEXED TO AND DEEMED PART OF THE POLICY

The very first sentence of the Policy premises coverage on “the representations
made and documents provided to [AISLIC],” which included the KPMG Opinions, the
Shareholders Agreement, the Representation Letter, the Warrant Agreement and the FMV
appraisal (together, the “Tax Plan”). Each of these documents was annexed to and deemed
part of the Policy itself (Policy, §§ 2(n), 2(r),3(h)), so that the terms and conditions of the
Tax Plan became part of Policy itself. AIG agreed to pay 90% of an Insured Tax Loss,
defined as “any Taxes, lnterest, fines or penalties owed by any Insured to a Taxing Authority

directly related to the Insured Tax Event, subject to all of the terms, conditions and

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exclusions of the policy” (Policy, §2(}`)) -- including the terms and conditions of the Tax Plan

annexed to and deemed part of the Policy itself.

The most critical elements of the Tax Plan set forth in the exhibits to the

Policy were the following:

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Donative intent: Thus, on page two of its Opinion on “Charitable
Contribution,” KPMG states as a fact upon which it relied in issuing
the Opinion: “In accordance with the Shareholder’s [McWilliam’s]
desire to support Municipal Plan [Austin], on March 31, 2001, the
Shareholder donated all of the Non-Voting Common Stock to
Municipal Plan.” Respondents’ intent “to support” Austin was critical
to show that the Tax Plan had a non-tax purpose, one of the elements
for satisfying the Economic Substance Doctrine. (Expert Report of
Robert D. Burke, at 14-15); '

Fair market value: The FMV appraisal valued Austin’s shares
according to their fair market value at the time of donation. Simil`arly,
the Shareholders Agreement provided that Austin would be paid fair
market value for its shares either pursuant to exercise of its put option
(Section 5.3) or upon the occurrence of a disposition event (Section
3.5). Providing for the valuation of Austin’s shares at fair market
value, both at the time of donation and at the time of redemption, was
essential to show donative intent, i.e., that the benefits and risks of
ownership of Austin’s shares had truly been passed on to Austin. Fair
market value was also critical to avoid a second class of stock
determination Thus, KPMG opined both with respect to the issuance of
the warrants, and with respect to the redemption of Austin’s shares, that
they would not trigger a “second class of stock, provided that their
strike price can be shown to be not substantially below the fair market
value of the stock.” (Opinion on Warrants, at 4; Opinion on Charitable
Contribution, at 7); and

F air market value appraisal: In order to evidence the valuation of
Austin’s shares at fair market value and to take advantage of the safe
harbor provision discussed at page 4 of KPMG’s Opinion on “Warrant
distribution by Upper Deck,” the Tax Plan provided for an appraisal of
Austin’s shares by an outside, nationally recognized appraisal firm.
(Shareholders Agreement, §§ 3.5 and 5.3). An appraisal by an outside,
qualified appraiser was so important that the FMV appraisal was
annexed to the Policy, and Respondents, as part of their application for
the Policy, had to represent and warrant that FMV was an

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“independent” and “competent” appraiser and that the FMV appraisal
was “substantially correct.” (Representation Letter, 11 4).

The Claim for which Respondents seek coverage, i.e., the tax plan actually
carried out by Respondents that would have had to be defended against any IRS challenge,
resulted from a forced repurchase of shares that bore no resemblance to the Tax Plan as
contained in the Exhibits to the Policy, especially the Shareholders Agreement. Respondents

~ erased any notion of donative intent by eliminating the requirements of fair market value and
an independent appraisal when they terminated the Shareholders Agreement and substituted
the Share Purchase Agreement, providing for a purchase price based solely on what Upper
Deck was willing to pay, without any requirement of fairness or an appraisal.

Under New York law, “[i]t is basic that it is the insured which has the burden
of showing that the insurance contract covers the loss for which the claim is made.” _Kijals_g
Gas Corp. v. Lancer Ins. Co., 21 A.D.3d 779, 780-81, 802 N.Y.S.2d 9, 11 (lst Dep’t 2005).
“Thus, for the insured to extend its coverage to more than it originally bargained, it would
have to enter into a-supplemental contract expanding the insurance clause or contracting the
exceptions.” Albert J. Schiff Assocs., Inc. v. Flack, 51 N.Y.692, 698, 435 N.Y.S.2d 972,
974-75 (1980).

Here, the Policy’s insurance clause and the definition of Insured Tax Loss
premised coverage on the terms and conditions of the Tax Plan as contained in the Exhibits
to the Policy, especially the Shareholders Agreement. Respondents cannot meet the burden
of proving their Claim is in accord with the terms and conditions of the Exhibits to the

Policy, since they cancelled the Shareholders Agreement and embarked on their own course

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without notifying, much less obtaining AlSLIC`s consent. Accordingly, as a result of
Respondents’ abandonment of the Tax Plan, there is no coverage under the Policy.
POlNT II

EXCLUSION 3(h) BARS COVERAGE DUE TO RESPONDEN'I`S’ TERMINATION
OF THE SHAREHOLDERS AG.REEMENT WITHOUT AISLIC’S CONSENT

Exclusion 3(h) to the Policy provides that AISLIC, without its prior written
consent, shall not be liable to make any payment for Loss "to the extent such Loss arises out
of, is based upon, or is attributable to an amendment to the Shareholders Agreement.” The
Share Purchase Agreement, drafted and entered into by Upper Deck in December 2002,
expressly provides for the termination -- the most drastic form of amendment -- of the
Shareholders Agreement. Section 5 .3 of the Share Purchase Agreement provides:

5.3 Shareholders Agreement. lt is hereby agreed by the

parties that Austin’s rights and obligations under the

Shareholders Agreement shall terminate effective as of the
Closing. of the transactions contemplated hereby. . ..

Having expressly agreed to terminate “Austin’s rights and obligations under the Shareholders
Agreement,” Respondents cannot now argue that the Share Purchase Agreement and “the
transactions contemplated thereby” were not an amendment of the Shareholders Agreement.
Respondents not only did not ask for AISLIC’s consent to terminate the

Shareholders Agreement, they concealed their termination of the Shareholders Agreement
from AISLIC. AISLIC would never have consented to redemption of Austin’s shares for
other than fair market value as evidenced by a qualified appraisal. Absent fair market value
being paid for Austin’s shares, the tax plan was vulnerable to a successful challenge by the

v IRS under the “economic substance” doctrine (See Sacks v. Commissioner, 69 F.3d 982, 988
(9m Cir. 1995)), since Respondents would not be able to meet the IRS’ argument in its

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Coordinated Issue Paper, that “the exempt party [does not] enjoy a benefit, commensurate
with its purported stock ownership, if the stock increases in value.” (Coordinated Issue
Paper, at 4, 6). Moreover, without a fair market appraisal, Respondents were also subject to
a successful claim by the IRS that Austin’s shares constituted a second class of stock, since
Respondents would not be able to take advantage of the safe harbor provision discussed at
page 4 of KPMG’s Opinion on “Warrant distribution by Upper Deck.”

If, as noted in the expert report offormer iRS Division Counsel Linda B.
Burke, Austin had received the fair market value for its shares, which Empire Valuation
Consultants has conservativer appraised at $11.3 million as of December 31, 2002, “it
would have been very difficult for the government to win the economic substance argument
Donative intent was clear and the Fund would actually have obtained the benefit of good
performance by the Company.” (L. Burke report, at 14).

By instead paying Austin only $2 million for its shares, a miniscule amount
relative to their fair market value, without any appraisal as provided for in the Shareholders
Agreement, Respondents made it impossible to defend against an IRS challenge I_d_. at 21.
Accordingly, the Loss claimed by Respondents “arose out of, was based upon, or was
attributable to” Respondents’ termination of the Shareholders Agreement. MM
York Central Mut. Fire Ins. Co., 5 N.Y.3d 467, 805 N.Y.S.2d 533 (2005) (holding that the
words “arising out of” in the context of insurance policy exclusions “have broader
significance than the words ‘caused by’ and are ordinarily understood to mean originating
from, incident to, or having connection with. . .”). Exclusion 3(h) should therefore apply to

exclude coverage for Respondents’ termination of the Shareholders Agreement without

AISLIC’s consent as required under the Policy.

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POINT III
RESPONDENTS’ BREACHES OF WARRANTIES PRECLUDE COVERAGE

New York recognizes both a claim for “an express, promissory warranty under
common-law principles” and a statutory warranty claim under New York Insurance Law
§3106(a). Star Citv Sportswear, Inc. v. Yasuda Fire & Marine Ins. Co. of America, 1 A.D.3d
58, 61-62, 765 N.Y.S.2d 854, 857 (lst Dep’t 2003), ajj"’d, 2 N.Y.3d 789, 781 N.Y.S.2d 255
(2004) (“ tar City”) (“Not only is endorsement No. 6 a warranty within the meaning of
Insurance Law § 3106(a), it also constitutes an express, promissory warranty under common-
law principles.”). New York Insurance Law §3106(a) defines a “warranty” as:

any provision of an insurance contract which/has the effect of

requiring, as a condition precedent of the taking effect of such

contract or as a condition precedent of the insurer’s liability

thereunder, the existence of a fact which tends to diminish, or

the non-existence of a fact which tends to increase, the risk of

the occurrence of any loss, damage, or injury within the
coverage of the contract.

Whether under common law or by statute, a warranty is “a promise by the insured to do or
not do something that the insurer considers significant to its risk of liability under an
insurance contract.” Hartford Fire Ins. Co. v. Mitlof, 208 F. Supp.Zd 407, 411 (2d Cir. 2002);
Comrnercial Union Ins. Co. v. Flagship Marine Servs., lnc., 190 F.3d 26, 31 (2d Cir. 1999)
(warranty is “a promise ‘by which the assured undertakes that some particular thing shall or
shall not be done, or that some condition shall be fulfilled, or whereby he affirms or
negatives the existence of a particular state of facts”’).

ln their Representation Letter, “delivered to [AISLIC] in connection with the
underwriting of the Policy, which letter is deemed part of the application of th[e] Policy”

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(Policy, §2(r)), Respondents acknowledged that AISLIC would “rely upon [its] accuracy and
truthfulness” and proceeded to expressly represent and warrant that:

l. The facts, assumptions of fact, and understandings of facts

set forth in the opinions of KPMG LLP attached as Exhibit A to

the Policy were true and correct on the date of such opinions
and continue to be true and correct on the date hereof

3. The Municipal Plan is neither legally bound to offer for
redemption any of the non-voting shares of Upper Deck, nor can
Upper Deck or any of its shareholders compel such a
redemption, except pursuant to the exercise of the Right of First
Refusal contained in the Shareholders Agreement, a copy of
which is attached as Exhibit C to the Policy.

` A. Respondents Breached their Promissory Warranty With Respect To The Critical
Assumption That F air Market Value Would B'e Paid For Austin ’s Shares

As set forth in Point I, one of the basic assumptions of fact on which the tax
plan was based was the concept of fair market value. In its Opinion on Charitable
Contribution, KPMG represented with respect to Austin’s shares: “The redemption amount is
the fair market value of the stock on the date that Municipal Plan [Austin] presents the stock
for redemption.” (Opinion on Charitable Contribution, p.3). As KPMG explained in its
Opinion, paying Austin fair market value for its shares was critical to avoiding a
determination that Austin’s shares constituted a second class of stock, which would result if ,

[t]he agreement establishes a purchase price that, at the time the

agreement is entered into, is significantly in excess of or below
the fair market value 'of the stock. (ld_., p.6).

KPMG concluded that since, under the Shareholders Agreement, Upper Deck was required
to pay fair market value for Austin’s shares, the test “for avoiding a second class of stock

should also`be met.” (l§_., p.7).v As an assumption of fact critical to the tax plan’s validity,

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the representation that, in accord with the Shareholders Agreement, Austin would be paid
fair market value for its shares, constituted a promissory warranty.

For the reasons discussed in Point II, Respondents’ breach of the promissory
warranty that Austin would be paid fair market value for its shares materially increased the

risk of Loss.

B. Respondents Breached their Promissory Warranty T hat They Could Not Compel
Austin To Redeem Its Shares

Respondents expressly warranted to AISLIC that neither Upper Deck nor its
shareholders could compel Austin to redeem its non-voting shares of Upper Deck stock,
except pursuant to the exercise of the Right of First Refusal contained in the Shareholders
Agreement. However, in December 2002, Upper Deck did compel Austin to redeem its
shares for far less than their fair market value. In response to Austin’s request for financial
information to assist its accountants in determining the fair market value of its shares,
Bendheim, in a December 9, 2002 letter sent on Respondents’ behalf, told Austin
representative Bill Stefka that Upper Deck was “not willing to pay a dollar more” than $2
million and threatened that "any delay or attempt to adjust the purchase price may put the
Austin Firefighters at significant risk."

Bendheim backed up this threat by misrepresenting that Upper Deck could
withhold 75% of the purchase price indefinitely, stating, “only 25 percent of the price is
required to be'paid at closing (i.e., September 30, 2003). The balance can be deferred it

appears for an indefinite time.”4 He further strongly implied that any appraisal would only

 

4 Bendheim only enclosed page ten of the Shareholders Agreement, which referred to a 25%
payment at closing, but omitted the next page, which provided: “'l`he Company shall pay the

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support Upper Deck’s desired purchase price, since the appraisal firm would be “engaged
and compensated by the Upper Deck Company to perform the valuation.” In sum,
Respondent threatened that if Austin did not agree to the early redemption of its shares at the
forced $2 million purchase price, Austin’s redemption right would be in serious jeopardy.
The very next day, on December 10, 2002, Austin approved the Share
Purchase Agreement without ever obtaining the additional financial documents requested by
its accountants Respondents, in violation of their promissory warranty, had successfully
compelled Austin to redeem its shares for a fraction of their worth. Trustco Bank New York
v. M.M.E. Power Enterprises, Inc., 223 A.D.587, 5892 636 N.Y.S.2d 831, 832 (2d Dep’t
1996) (“The existence of economic duress is demonstrated by proof that one party to a
contract has threatened to breach the agreement by withholding performance unless the other
party agrees to some further demand.”); Murrav Walter, Inc. v. Sarkisian Bros., Inc., 183
A.D.2d 140, 144, 589 N.Y.S.2d 613, 615 (3d Dep’t 1992) (finding evidence that defendants,
through threats, exercised economic duress upon plaintiff “for a redemption of their
[defendants’] shares at an inflated price”). Respondents’ heavy-handedness materially
increased the risk of a successful challenge by the IRS by “substantially diminish[ing] any
argument that one of the principal motivations for entering into the SC2 transaction was to

provide an economic benefit to [Austin].” (R. Burke Report, at 23).

 

remaining balance of the Put Price to the Donee in cash or other mutually agreed upon
consideration within forty-five (45) days after the Closing.”

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C. Respondents’ Warranty to AISLIC of the T ruth Of T he KPMG Opinions Proved
False As A Result 0fKPMG ’s Mass-Marketing Campaign

The facts, assumptions of fact, and understandings of facts set forth in the
KPMG opinions, the truth and correctness of which were warranted by Respondents, failed
to disclose that KPMG had mass-marketed the SC2 transaction as part of a scheme to
generate huge fees. While Upper Deck’s broker Marsh informed AISLIC that KPMG had
implemented a number of SC2 transactions, KPMG’s mass-marketing campaign in the
pursuit of millions of dollars in fees was not disclosed to AISLIC, The significance of
KPMG’s mass marketing campaign was commented on in a December 2001 internal email
from a KPMG professional, who wrote:

Going way back to Feb. 2000, when SC2 first reared its head,

my recollection is that SC2 was intended to be limited to a

relatively small number of large S corps. That plan made sense

because, in my opinion, there was (and is) a strong risk of

successful IRS attack on SC2 if the IRS gets wind of it Call

me paranoid, but l think that such a widespread marketing

campaign is likely to bring KPMG and SC2 unwelcome

attention from the IRS. If so, I suspect a vigorous (and at least
partially successfiil) challenge would result.

The KPMG professional’s concern proved accurate in that the mass-marketing of the SC2
transaction led to scrutiny from both the Senate Subcomrnittee, which, in November 2003,
held hearings on the subject, and the IRS, which, in April 2004, issued Notice 2004-30
listing the “S Corporation Tax Shelter” as a tax avoidance transaction, the tax benefits of
which the IRS intended to challenge. The aggressive mass-marketing of the SC2 transaction

by KPMG, therefore, materially increased the risk of Loss under the policy.

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ln sum, Respondents breached their warranties to AISLIC, materially
increasing the risk of Loss under the Policy. Accordingly, there is no coverage under the
Policy.5
POINT IV

EXCLUSION 3(a) BARS COVERAGE FOR RESPONDENTS’ FRAUDULEN'I`
INDUCEMENT OF THE REPURCHASE OF AUSTIN’S SHARES

Exclusion 3(a) of the Policy provides that the Insurer shall not be liable to

make any payment for Loss in connection with a Claim made against any Insured:

arising out of, based upon or attributable to the committing in fact of any
criminal or deliberate fraudulent act (including without limitation deliberate
civil fraud), or any knowing and intentional violation of any law, rule,
regulation or statute; provided, however, that effecting the transactions
described in the Opinions and the filing of Tax Retums with any Taxing
Authority by the Insureds consistent with the transactions described in the
Opinions shall not be the committing in fact of any criminal or deliberate
fraudulent act (including without limitation deliberate civil fraud) or a
knowing and intentional violation of law, rule, regulation or statute for
purposes of this Clause 3(a).

Here, Respondents induced Austin to sell its stock for a price that was far
below its fair value by deliberately misrepresenting Upper Deck’s annual income and
withholding from Austin and its accountants financial information that would have revealed
Upper Deck’s tremendous surge of income in the latter part of 2002. In a December 9, 2002
fax to Austin, KPMG, on Upper Deck’s behalf, only provided Upper Deck’s income

statements through the first nine months of 2002, showing $29,519,3 05 of net income for the

 

5 The same result is reached by Exclusion 3(h) of the policy, which provides that AISLIC
shall not be liable for Loss in connection with a Claim “arising out of, based upon or
attributable to any material inaccuracy in the facts set forth or referenced in the

Representation Letter.”

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period ending September 30, 2002. Bendheim then suggested: “If you [Austin] annualize
the September 30, 2002 income statement results, the annualized net income is
approximately'$39,359,073.” He concluded that “the $2 million purchase price is very fair
especially in light of today’s economic conditions.”

At the time Bendheim made these representations on Respondents’ behalf,
Respondents knew that they were materially false and misleading Whereas Upper Deck’s
monthly net income for September 2002 -- the last month of the period annualized by Mr.
Bendheim -- was $7,398,839, Upper Deck’s monthly net income for October 2002 was
$46,596,546. Thus, in October 2002 alone, Upper Deck’s monthly net income was greater
than the $39,359,073 that Bendheim approximated as Upper Deck’s net income for the
entire year. Similarly, in November 2002, Upper Deck experienced net income of
$35,082,825. Not surprisingly, Upper Deck's actual year-end net income for 2002 was
$lSl,407,745, almost 400% times the $39,359,073 annualized net income figure presented
to the Austin. n

Bendheim, on Respondents’ behalf, also misrepresented to Austin that under
the Shareholders Agreement “the fair market value of the stock is essentially determined by
Upper Deck”; that [t]he real market value is what the Upper Deck Company is willing to pay
for it,” i.e., 82 million and not “one dollar more”; and that under the Shareholders Agreement
“only 25 percent of the price is required to be paid at closing (i.e. September 30, 2003). The
balance can be deferred it appears for an indefinite time.” Section 5.2 of the Shareholders
Agreement actually provided that the put price “shall be the fair market value” as determined
by a qualified appraiser. Moreover, under Section 5 .3(b), the entire purchase price had to be v

paid “in cash or other mutually agreed upon consideration within forty-five (45) days after

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the Closing.” Respondents therefore compounded their fraudulent misrepresentations
regarding Upper Deck’s annual income by misrepresenting the terms of the Shareholders
Agreement in such a way as to make it seem that “[a]ny delay or attempt to adjust the
purchase price may put the Austin Firefighters at significant risk.”

Respondents have asserted that, pursuant to the Policy’s choice of law clause,
the Panel must determine whether under New York law the above misrepresentations and
omissions constitute, in fact, a “criminal or deliberate fraud (including without limitation
deliberate civil fraud)”or a “knowing and intentional violation of any law, rule regulation or
statute.” The answer is clearly yes. J.A.O. Acquisition Corp. v. Stavitskv, 192 Misc.2d 7,
13, 745 N.Y.S.2d 634 (Sup. Ct., N.Y. Co. 2001) (holding that defendants’ alleged
misrepresentations in connection with stock purchase agreement regarding company’s
inventory, accounts receivable and net worth of company constituted “appropriate fraud
claim” separate and apart from claim for breach of warranties in stock purchase agreement);
Foothill Capital Corp. v. Grant Thornton1 LLP, 276 A.D.2d 437, 715 N.Y.S.2d 389 (lst
Dep’t 2000) (accounting firm’s gross negligence and recklessness in overstating company’s
inventoryj accounts payable and fixed assets held “sufficient to give rise to an inference of
fraud”).

Further, Respondents’ fraudulent inducement of the early redemption of
Austin’s shares at a cheap priced also constituted a violation of Section 25401 of Califomia’s
Corporate Securities Law, applicable to Upper Deck’s conduct at the time. This Section
provides: “It is unlawful for any person to offer or sell a security in this state or buy or offer
to buy a security in this state by means of any written or oral communication which includes

an untrue statement of a material fact or omits to state a material fact necessary in order to

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make the statements made, in the light of the circumstances under which they were made, not
inisleading,” Under Section 25401, “(l) proof of reliance is not required, (2) although the
fact misrepresented or omitted must be ‘material,’ no proof of causation is required, and (3)
plaintiff need not prove defendant’s negligence.” Bowden v. Robinson, 67 Cal.App.3d 705, _
715 (Cal. Ct. App. 1977).

Nor does the exception in Exclusion 3(a) applicable to the “effecting [of] the
transactions described in the Opinions” apply. Nowhere do the KPMG Opinions provide for
redemption of Austin’s shares for anything other'than fair market value as verified by a
qualified appraiser, or for t_he use of deception to force an early redemption of Austin’s
shares at a price based solely on what Respondents were willing to pay.

Finally, the Loss claimed by Respondents arose out of their fraudulent
inducement of the sale of Austin’s stock at a price far below fair market value, since, as set
forth at page 23 of the expert report of Robert D. Burke: “'l`he manner in which the Upper
Deck Parties repurchased its shares in December 2002 significantly diminished the prospects
that the tax benefits associated with the SC2 transaction would be upheld by a court if
litigated.” (See note 5, supra).

POINT V

RESPONDENTS’ FAILURE TO COMPLY WITH AN EXPRESS CONDITION
PRECEDENT TO COVERAGE VITIATES COVERAGE

The New York Court of Appeals has defined a condition precedent as “an act
or event which, unless the condition is excused, must occur before a duty to perform a
promise in the agreement arises.” Oppenheimer & Co., Inc. v. Oppenheim, Appel, Dixon &

go_., 86 N.Y. 2d 685, 690, 636 N.Y.s.zd 734 (1995) (“ ppenheimer”) (ellipses in originaz);

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Chase Manhattan Bank v. New Hampshire Ins. Co., 4 Misc.3d 1026(A), 2004 WL 2169394
at *4 (Sup. Ct., N.Y._ Co. 2004) (“ins§”). Express conditions, which are those conditions
precedent “agreed to and imposed by the parties themselves,” Oppenheimer, 86 N.Y. 2d at
690, "must be ‘literally performed,’ and [are] not satisfied by substantial compliance.”
g@s£, 2004 WL 2169394 at *4 (in rejecting insured’s claim that condition precedent under
Contingent Loss of Revenue Insurance Policy was a warranty under Insurance Law §3106,
Court held that express condition precedent required literal compliance with a “set of events,
the occurrence of which must precede coverage”).

A failure of an express condition precedent vitiates coverage entirely and
there is no requirement that the failure of the condition caused or even contributed to the
claimed loss under the policy. Sulner v. G.A.. Ins. Co. of New York, 224 A.D.2d 205, 206,
637 N.Y.S.2d 144, 145 (lst Dep’t), lv. to appeal denied, 88 N.Y.2d 805 (1996) (“§Ln_er”).
In §§Bi_', involving a condition precedent in an insurance policy which provided that, when
open for business, the insured shop’s valuable papers and records be kept in certain metal
cabinets,-the Court held:

Since plaintiff has conceded that she failed to perform a

condition precedent under the insurance policy, she is not
entitled to collect for any loss to the valuable documents, and it
is irrelevant whether the breach of the condition precedent was
the cause of all or part of the water damage to the valuable

documents or that the subject policy lacked a specific
pronouncement that the lack of performance would result in a

loss of coverage. (fbid.)

Here, Section 9 of the Policy, captioned “Conditions Precedent,” in
unmistakable terms sets forth as an express “condition precedent to the right of the Insureds

to be indemnified hereunder, that the lnsureds comply with the terms and conditions” of sub-

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clause (b) which, in tum, requires: “The Insureds shall have prepared and filed all applicable
Tax Retums in a manner materially consistent with that anticipated by the Opinions and/or
the Representation Letter.”

The KPMG opinion on “Charitable Contribution” to Austin clearly anticipates
that McWilliam, as Shareholder, would take a charitable deduction on his 2001 tax return.
One of KPMG’s principal conclusions, Conclusion No. 5 of its Opinion on the “Charitable
Contribution” to Austin is: “It is more likely than not that the Shareholder will be entitled to
a charitable deduction for the fair market of the stock the Shareholder donated.” (Opinion on
“Charitable Contribution, p.4) (underline in original). The opinion devotes several pages to
the subject (L, pp.5, 9-11 ), and concludes that the donation of Non-Voting Common Stock
to Austin “should be considered as deductible gifts because Municipal Plan [Austin] did not

- transfer any cash or property to the Shareholder in return for his contribution.” (_I_c_l; at 10).

Respondents admit “that Mr. McWilliam did not claim a charitable deduction

on his 2001 income tax return” for the value of the non-voting shares donated to Austin.
1 (Answer, 11 84). Accordingly, Respondents have failed to satisfy an express condition
precedent under the Policy, thereby vitiating coverage under the Policy.
POINT VI
RESPONDENTS IlVIPAIRED AISLIC’S RIGHT TO SUBROGATION

Pursuant to Article 10 of the Policy, AISLIC, in the event of payment under
the Policy, had the right to be subrogated “to all the rights and remedies of the Insureds in
respect of such Loss. . .” Respondents, for a considerable fee, entered into an engagement
with KPMG, whereby KPMG agreed to provide its Opinions based on the Tax Plan it had

presented However, as set forth in Point I, Respondents radically departed from the Tax Plan

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that KPMG had crafted. Respondents repudiated their donative intent and the requirement
set forth in the KPMG opinions that Austin’s shares'be redeemed at a purchase price not
substantially.above_ or below the fair market value of the stock. Respondents thereby
impaired any claim against KPMG based on the KPMG Opinions. Similarly, as a result of
Respondents’ termination of the Shareholders Agreement, any attempt to obtain a more
favorable settlement from the IRS was thwarted, since Respondents “substantially
undermine[d] the substance that the transaction would have had under the Shareholders
Agreement.” (L. Burke report, at 20).

Respondents thereby impaired AISLIC’s rights to subrogation under the
Policy against both KPMG and the Govemment. Accordingly, coverage should not lie under
the Policy. Weinberg v. Transamerica Ins. Co., 62 N.Y.2d 379, 384-85, 477 N.Y.S.2d 99
(1984) (affirming summary judgment dismissal of claim seeking to recover benefits against
insurer because insured failed to protect the subrogation rights of the insurer); Aetna Cas. &
Surety Co. v. Longo Prod., Inc., 247 A.D.2d 497, 669 N.Y.S.2d 336 (2d Dep’t), lv. to appeal
denied, 92 N.Y.2d 802 (1998) (same). '

POlNT VII
RESPONDENTS’ COUNTERCLAIM FOR ALLEGED BREACH OF
IlVlPLIED DUTY OF GOOD FAITH AND FAIR DEALING
IS LEGALLY AND FACTUALLY DEFICIENT

Under New York law, a contractual choice of law provision applies with equal
force to a claim for breach of an implied duty of good faith. Thus, in _B_i_i£vli_v_,g>gblic@k_,
ipc_., 2001 WL 228121 (S.D.N.Y. 2001), ajj"’a', 22 Fed. Appx. 57 (2d Cir. 2001), the Court, in

applying a Delaware choice of law provision in an option agreement to a claim for breach of

an implied covenant of good faith held: “Since ‘the implied covenant of good faith is a

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rule of interpretation rather than a separate obligation,’ (citation omitted), the Court holds
that a claim for breach of the covenant is a contractual cause of action and therefore
Delaware law applies to [plaintiff’ s] claim regarding the Option Agreement” Li_. at *7;
Yankee Caithness Joint Venture, LP v. Planet Ins. Co., 1996 WL 4263 59 at *2 (S.D.N.Y.
1996) (“M”) (in rejecting an argument that a choice of law provision applying New
York law to any dispute regarding the “meaning, interpretation or operation of any term,
condition, definition or provision” of an insurance policy, did not apply to claims for punitive
damages and breach of the covenant of good faith, the Court held: “This argument has no
merit. Any duty to defend and indemnify arises directly from the policy provisions
respecting coverage.”).

Here, the choice of law clause in Section 16 of the Policy is extremely broad,
providing that where the Federal Arbitration Act does not apply, New York law shall apply.
(Policy, §16: “The arbitration shall be subject to the Federal Arbitration Act and, to the
extent such Act is not applicable, the laws of the State of New York.”). In particular, the
choice of law clause singles out disputes regarding the “performance of this Policy,” i.e.,
compliance with the parties’ obligations under the Policy, as governed by New York law.

Under New York law, “‘breach of an implied covenant of good faith and fair
dealing is intrinsically tied to the damages allegedly resulting from a breach of contract.”’
Network Enterprises, Inc. v. APBA Offshore Prods., Inc., 2004 WL 1837349 at *4 (S.D.N.Y.
2004) (“Network Enterprises”), quoting, Canstar v. J.A. Jones Constr. Co., 622 N.Y.S.2d

730, 731 (lst Dep’t 1995). “As a result, most courts ‘faced with a complaint brought under

New York law and alleging both breach of contract and breach of a covenant of good faith

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and fair dealing [have] dismissed the latter claim as duplicative.”’ Network Enterprises, 2004
WL 1837349 at *4.

The New York Court of Appeals thus held, in New York University v.
Continental Ins. Co., 87 N.Y.2d 308, 319-20, 639 N.Y.S.2d 283, 290 (1995) (‘M_U_”), that
plaintiff insured’s claim that defendant insurer’s actions, including its denial of coverage,
were “‘careless, negligent, reckless and vindictive” amounted “to nothing more than a claim
based on the alleged breach of the implied covenant of good faith and fair dealing,” which
the Court held “should have been dismissed” as “duplicative of the first cause of action for
breach of contract....” N__Y__U, 87 N.Y.2d at 319-20, 639 N.Y.S.2d at 290; Core-Mark Int’l
Corp. v. Co`mmonwealth Ins. Co., 2005 WL 1676704 at *3-4 (S.D.N.Y. 2005) (“New York
does not recognize the tort of bad faith denial of insurance coverage.”).

Respondents’ Counterclaim’s second cause of action against AISLIC for
breach of the covenant of good fair and fair dealing should therefore, under controlling New
York law, be dismissed as duplicative of their first cause of action for breach of contract.6
Denial of Respondents’ counterclaim should also result in denial of plaintiff`s claim for
punitive damages Under New York law, extra-contractual damages, such as punitive
damages, are only recoverable if: “(1) defendant’s conduct [is] actionable as an independent
tort; (2) the tortious conduct [is] of [an] egregious nature ...; (3) the egregious conduct [is]
directed to the plaintiff; and (4) it [is] part of a pattern directed at the public generally.”
M, 87 N.Y.2d at 316, 639 N.Y.S.2d at 287; Rocanova v. Equitable Life Assur. Soc.., 83

N.Y.2d 603, 613, 612 N.Y.S.2d 339 (1994); Yankee, 1996 WL 426359 at *l

 

 

6 For the same reason, under New York law, AISLIC cannot pursue a separate claim for
Respondents’ breach of their implied covenant of good faith and fair dealing

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(S.D.N.Y. 1996). None of these required elements are met here. Accordingly, Respondents’

counterclaim for breach of implied covenant of good faith and fair dealing and its claim for

extra-contractual damages Should be dismissed

CONCLUSION

Based on the foregoing, Claimant respectfully requests that the Panel issue an

Order that there is no coverage under the Policy.

Dated: New York, New York
September .15, 2006

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Respectfully submitted,

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